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B22A (Official Form 22A) (Chapter 7) (12/08)

In re Morgan, Nancy According to the information required to be entered on this statement
Debtor(s) (check one box as directed in Part I, III, or VI of this statement):
. ‘The presumption arises.
Case Number: ino The presumption does not arise.
(if known) [_]The presumption is temporarily inapplicable.

CHAPTER 7 STATEMENT OF CURRENT MONTHLY INCOME
AND MEANS-TEST CALCULATION

In addition to Schedules I and J, this statement must be completed by every individual chapter 7 debtor, whether or not filing
jointly. Unless the exclusion in Line 1C applies, joint debtors may complete a single statement. Ef the exclusion in Line 1C
applies, each joint filer must complete a separate statement.

Part J. MILITARY AND NON-CONSUMER DEBTORS

1A

Disabied Veterans. If you are a disabled veteran described in the Declaration in this Part IA, (1) check the box at the
beginning of the Declaration, (2) check the box for “The presumption does not arise” at the top of this statement, and (3)
complete the verification in Part VIII. Do not complete any of the remaining parts of this statement.

(J Declaration of Disabled Veteran. By checking this box, I declare under penalty of perjury that I am a disabled
veteran (as defined in 38 U.S.C. § 3741(1)) whose indebtedness occurred primarily during a period in which I was on
active duty (as defined in 10 U.S.C. § 101(d)(1)) or while I was performing a homeland defense activity (as defined in 32
U.S.C. §901(1)).

1B

Non-consumer Debtors. If your debts are not primarily consumer debts, check the box below and compiete the
verification in Part VIII. Do not complete any of the remaining parts of this statement.

(1 Declaration of non-consumer debts. By checking this box, I declare that my debts are not primarily consumer debts.

ic

Reservists and National Guard Members; active duty or homeland defense activity. Members of a reserve component
of the Armed Forces and members of the National Guard who were called to active duty (as defined in 10 U.S.C.

§ 101(d)(1)) after September 11, 2001, for a period of at least 90 days, or whe have performed homeland defense activity
{as defined in 32 U.S.C. § 901(1)) for a period of at least 90 days, are excluded from all forms of means testing during the
time of active duty or homeland defense activity and for 540 days thereafter (the “exclusion period”). If you qualify for
this temporary exclusion, (1) check the appropriate boxes and complete any required information in the Declaration of
Reservists and National Guard Members below, (2) check the box for “The presumption is temporarily inapplicable” at the
top of this statement, and (3) complete the verification in Part VI. During your exclusion period you are not required
to camplete the balance of this form, but you must complete the form no [ater than 14 days after the date on which
your exclusion period ends, unless the time for filing a motion raising the means test presumption expires in your
case before your exclusion period ends.

L] Declaration of Reservists and National Guard Members. By checking this box and making the appropriate entries

below, I declare that I am eligible for a temporary exclusion from means testing because, as a member of a reserve
component of the Armed Forces or the National Guard

a. (] I was called to active duty after September 11, 2001, for a period of at least 90 days and

([] I remain on active duty /or/
11 was released from active duty on . which is less than $40 days before
this bankruptcy case was filed: re =
OR cnn. 7
b. [1 am performing homeland defense activity for a period of at least 90 days /or/° =
[-] I performed homeland defense activity for a period of at least 90 days, t rermindiag on no ssa
which is less than 540 days before this bankruptcy case was filed: ° co
zor OS
5o- 6 UWF
zee 7 J
23 8
=
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B22 (Official Form 22A) (Chapter 7) (12/08)

Part 1. CALCULATION OF MONTHLY INCOME FOR § 707(b\(7) EXCLUSION

Marital/filing status, Check the box that applies and complete the balance of this part of this statement as directed.

a. 4] Unmarried. Complete only Column A (“Debtor’s Income”) for Lines 3-11.

b. [CJ Married, not filing jointly, with declaration of separate households. By checking this box, debtor declares under
penalty of perjury: “My spouse and I are legally separated under applicable non-bankruptcy law or my spouse and I
are living apart other than for the purpose of evading the requirements of § 707(b)\(2)(A) of the Bankruptcy Code,”

Complete only Column A (“Debtor’s Income”) for Lines 3-11.

c. [J Married, not filing jointly, without the declaration of separate households set out in Line 2.b above. Complete both

Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for Lines 3-11.

d. F] Married, filing jointly, Complete both Column A (“Debtor’s Income”) and Column B (“Spouse’s Income”) for

Lines 3-11.

All figures must reflect average monthly income received from all sources, derived during
the six calendar months prior to filing the bankruptcy case, ending on the last day of the
month before the filing. Ifthe amount of monthly income varied during the six months, you
must divide the six-month total by six, and enter the result on the appropriate line.

Cofama A

Debtor's
Income

Column B

Spouse’s
Income

Gross wages, salary, tips, bonuses, overtime, commissions.

Income from the operation of a business, profession or farm. Subtract Line b from Line a
and enter the difference in the appropriate column(s) of Line 4. If you operate more than one
business, profession or farm, enter agpregate munbers and provide details on an attachment.
Do not enter a number less than zero. Do not include any part of the business expenses
entered on Line b as a deduction in Part V.

a. Gross receipts $ 0
b. Ordinary and necessary business expenses $ 0
c. Business income Subtract Line b from Line a

Rent and other real property income. Subtract Line b from Line a and enter the difference
in the appropriate column(s) of Line 5. Do not enter a number less than zero. Do not include
any part of the operating expenses entered on Line b as a deduction in Part V.

$759

$ 630
Subtract Line b from Line a

Gross receipts

b. Ordinary and necessary operating expenses
c. Rent and other real property income

120} ¢

Interest, dividends and royatties.

Pension and retirement income.

Any amounts paid by another person or entity, on a regular basis, for the household
expenses of the debtor or the debtor’s dependents, including child support paid for that
purpose, Do not include alimony or separate maintenance payments or amounts paid by
your spouse if Column B is completed.

Unemployment compensation. Enter the amount in the appropriate column(s) of Line 9.
However, if you contend that unemployment compensation received by you or your spouse
was a benefit under the Social Security Act, do not list the amount of such compensation in
Column A or B, but instead state the amount in the space below:

Unemployinent compensation claimed to
be a benefit under the Social Security Act

Debtor $ Spouse $

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i0

Income from ail other sources. Specify source and amount. If necessary, list additional
sources on a separate page. Do not include alimony or separate maintenance payments
paid by your spouse if Column B is completed, but include all other payments of
alimony or separate maintenance. Do not include any benefits received under the Social
Security Act or payments received as a victim of a war crime, crime against humanity, or as a
victim of international or domestic terrorism,

a. $ 6
b. $ 0

Total and enter on Line 10 $ 0

li

Subtotal of Current Monthly Income for § 707(b)(7). Add Lines 3 thru 10 in Column A,
and, if Column B is completed, add Lines 3 through 10 in Column B. Enter the total(s). $ 120

12

Total Current Monthly Income for § 707(b\7). If Column B has been completed, add
Line 11, Column A to Line 11, Column B, and enter the total. If Column B has not been
completed, enter the amount from Line 11, Column A.

Part I. APPLICATION OF § 707(b)(7) EXCLUSION

13

Annualized Current Monthly Income for § 707(b)(7). Multiply the amount from Line 12 by the number
12 and enter the result.

1440

14

Applicable median family income. Enter the median family income for the applicable state and household
size. (This information is available by family size at www.usdoj.gov/ust/ or from the clerk of the
bankruptcy court.) -

a. Enter debtor’s state of residence: MUCHIGAN b, Enter debtor’s household size: 3

63339

15

Application of Section 707(b\(7). Check the applicable box and proceed as directed.

M1 The amount on Line 13 is less than or equal to the amount on Line 14. Check the box for “The presumption does
not arise” at the top of page | of this statement, and complete Part VIII; do not complete Parts IV, V, VI or VII.

(7 The amount on Line 13 is more than the amount on Line 14, Complete the remaining parts of this statement.

Complete Parts IV, V, VI, and VE of this statement only if required. (See Line 15.)

Part IV. CALCULATION OF CURRENT MONTHLY INCOME FOR § 707(b)(2)

16

Enter the amount from Line 12.

$

17

Marital adjustment. If you checked the box at Line 2.c, enter on Line 17 the total of any income listed in
Line 11, Cohimn B that was NOT paid on a regular basis for the household expenses of the debtor or the
debtor's dependents. Specify in the lines below the basis for excluding the Column B income (such as
payment of the spouse's tax liability or the spouse's support of persons other than the debtor or the debtor's
dependents) and the amount of income devoted to each purpose. If necessary, list additional adjustments on
a separate page. If you did not check box at Line 2.c, enter zero.

a. $
b.

c. $
Total and enter on Line 17.

18

Current monthly income for § 707(b)(2). Subtract Line 17 from Line 16 and enter the result.

Part V. CALCULATION OF DEDUCTIONS FROM INCOME

PS

Subpart A: Deductions under Standards of the Internal Revenue Service (IRS)

19A

National Standards: food, ciothing and other items. Enter in Line 19A the “Total” amount from IRS
National Standards for Food, Clothing and Other Items for the applicable household size. (This information
is available at www .usdoj.gov/ust/ or from the clerk of the bankruptcy court.)

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198

National Standards: health care. Enter in Line al below the amount from IRS National Standards for Out-
of-Pocket Health Care for persons under 65 years of age, and in Line a2 the IRS National Standards for Out-
of-Pocket Health Care for persons 65 years of age or older. (This information is available at

www.usdo, 2ov/ust/ or from the clerk of the bankruptcy court.) Enter in Line b1 the mumber of members of
your household who are under 65 years of age, and enter in Line b2 the number of members of your
household who are 65 years of age or older. (The total number of household members must be the same as
the number stated in Line 14b.) Multiply Line al by Line bi to obtain a total amount for household members
under 65, and enter the result in Line cl. Multiply Line a2 by Line b2 to obtain a total amount for household
members 65 and older, and enter the result in Line c2. Add Lines ¢] and c2 to obtain a total health care
amount, and enter the result in Line 19B.

Household members under 65 years of age Household members 65 years of age or older
al. | Allowance per member a2. | Allowance per member
bl. | Number of members bz. | Number of members
cl. | Subtotal eZ. | Subtotal

20A

Local Standards: housing and utilities; non-mortgage expenses. Enter the amount of the IRS Housing and
Utilities Standards: non-mortgage expenses for the applicable county and household size. (This information
is available at www usdo).gov/ust/ or from the clerk of the bankruptcy court).

26B

Local Standards: housing and utilities; mortgage/rent expense. Enter, in Line a below, the amount of the
IRS Housing and Utilities Standards: mortgage/rent expense for your county and household size (this
information is available at www.usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter on Line b the
total of the Average Monthly Payments for any debts secured by your home, as stated in Line 42: subtract
Line b from Line a and enter the result in Line 20B. Do not enter an amount less than zero.

IRS Housing and Utilities Standards: mortgage/rental expense | $

b. | Average Monthly Payment for any debts secured by your home,
if any, as stated in Line 42 $

c. Net mortgage/rental expense Subtract Line b from Line a.

21

Local Standards: housing and utilities; adjustment. If you contend that the process set out in Lines 20A
and 208 does not accurately compute the allowance to which you are entitled under the IRS Housing and
Utilities Standards, enter any additional amount to which you contend you are entitled, and state the basis for
your contention in the space below:

22A

Local Standards: transportation; vehicle operation/public transportation expense. You are entitled to
an expense allowance in this category regardless of whether you pay the expenses of operating a vehicle and
regardless of whether you use public transportation.

Check the number of vehicles for which you pay the operating expenses or for which the operating expenses
are included as a contribution to your household expenses in Line 8.

[Jo Cl I Fy2 or more.

Ef you checked 0, enter on Line 22A the “Public Transportation” amount from IRS Local Standards:
Transportation. If you checked 1 or 2 or more, enter on Line 22A the “Operating Costs” amount from IRS
Local Standards: Transportation for the applicable number of vehicles in the applicable Metropolitan
Statistical Area or Census Region. (These amounts are available at www.usdo}.z0v/ust/ or from the clerk of
the bankruptcy court.)

228

Local Standards: transportation; additional public transportation expense. If you pay the operating
expenses for a vehicle and also use public transportation, and you contend that you are entitled to an
additional deduction for your public transportation expenses, enter on Line 22B the “Public Transportation”
amount from IRS Local Standards: Transportation. (This amount is available at www-usdoj.zov/ust/ or from

| the clerk of the bankruptcy court.)

23

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Local Standards: transportation ownership/lease expense; Vehicle 1. Check the number of vehicles for
which you claim an ownership/lease expense. (You may not claim an ownership/lease expense for more than
two vehicles.)

CJ: (C0 2 or more.

Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
(available at www _usdoj.gov/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the

Average Monthly Payments for any debts secured by Vehicle 1, as stated in Line 42; subtract Line b from
Line a and enter the result in Line 23, Do not enter an amount less than zero.

IRS Transportation Standards, Ownership Costs $
b, Average Monthly Payment for any debts secured by Vehicle 1,
as stated in Line 42 $
c. Net ownership/lease expense for Vehicle 1 Subtract Line b from Line a.

24

Local Standards: transportation ownership/lease expense; Vehicle 2, Complete this Line only if you
checked the “2 or more” Box in Line 23.

Enter, in Line a below, the “Ownership Costs” for “One Car” from the IRS Local Standards: Transportation
(available at www usdoj.20v/ust/ or from the clerk of the bankruptcy court); enter in Line b the total of the
Average Monthly Payments for any debts secured by Vehicle 2, as stated in Line 42; subtract Line b from
Line a and enter the result in Line 24. Do not enter an amount less than zero.

a. IRS Transportation Standards, Ownership Costs $
b. Average Monthly Payment for any debts secured by Vehicle 2,
as stated in Line 42 $
c. Net ownership/lease expense for Vehicle 2 Subtract Line b from Line a.

25

Other Necessary Expenses: taxes. Enter the total average monthly expense that you actually incur for all
federal, state and local taxes, other than real estate and sales taxes, such as income taxes, self-employment
taxes, social-security taxes, and Medicare taxes. Do not include real estate or sales taxes.

26

Other Necessary Expenses: involuntary deductions for employment. Enter the total average monthly
payroll deductions that are required for your employment, such as retirement contributions, union dues, and
uniform costs. Do not include discretionary amounts, such as voluntary 401(;) contributions.

27

Other Necessary Expenses: life insarance. Enter total average monthly premiums that you actually pay for
term life insurance for yourself. Do not include premiums for insurance on your dependents, for whole
life or for any other form of insurance.

28

Other Necessary Expenses: court-ordered payments. Enter the total monthly amount that you are
required to pay pursuant to the order of a court or administrative agency, such as spousal or child support
payments. Do not include payments on past due obligations included in Line 44.

29

Other Necessary Expenses: education for employment or for a physically or mentally challenged child.
Enter the total average monthly amount that you actually expend for education that is a condition of
employment and for education that is required for a physically or mentally challenged dependent child for
whom no public education providing similar services is available.

30

Other Necessary Expenses: childcare. Enter the total average monthly amount that you actually expend on
childcare—such as baby-sitting, day care, nursery and preschool. De not include other educational

payments.

31

Other Necessary Expenses: health care. Enter the total average monthly amount that you actually expend
on health care that is required for the health and welfare of yourself or your dependents, that is not
reimbursed by insurance or paid by a health savings account, and that is in excess of the amount entered in
Line 19B. Do not include payments for health insurance or health savings accounts listed in Line 34.

32

Other Necessary Expenses: telecommunication services. Enter the total average monthly amount that you
actually pay for telecommunication services other than your basic home telephone and cell phone service—
such as pagers, call waiting, caller id, special long distance, or internet service—to the extent necessary for
your health and welfare or that of your dependents. Do not include any amount previously deducted.

33

Total Expenses Allowed under IRS Standards. Enter the total of Lines 19 through 32.

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Subpart B: Additional Living Expense Deductions
Note: Do not include any expenses that you have listed in Lines 19-32

34

Health insurance, Disability Insurance, and Health Savings Account Expenses. List the monthly

expenses in the categories set out in lines a-c below that are reasonably necessary for yourself, your spouse,
or your dependents.

a. Health Insurance $

b. Disability Insurance

c. Health Savings Account §
Total and enter on Line 34

H you do not actually expend this total amount, state your actual total average monthly expenditures in the
space below:

$

35

Continued contributions to the care of household or family members. Enter the total average actual
monthly expenses that you will continue to pay for the reasonable and necessary care and support of an
elderly, chronically ill, or disabled member of your household or member of your immediate family who is
unable to pay for such expenses.

36

Protection against family violence. Enter the total average reasonably necessary monthly expenses that you
actually incurred to maintain the safety of your family under the Family Violence Prevention and Services
Act or other applicable federal law. The nature of these expenses is required to be kept confidential by the
court.

37

Home energy costs. Enter the total average monthly amount, in excess of the allowance specified by IRS
Local Standards for Housing and Utilities, that you actually expend for home energy costs. You must
provide your case trustee with documentation of your actual expenses, and you must demonstrate that
the additional amount claimed is reasonable and necessary.

38

Education expenses for dependent children less than 18. Enter the total average monthly expenses that
you actually incur, not to exceed $137.50 per child, for attendance at a private or public elementary or
secondary school by your dependent children less than 18 years of age. You must provide your case trustee
with documentation of your actual expenses, and you must explain why the amount claimed is
reasonable and necessary and not already accounted for in the IRS Standards.

39

Additional food and clothing expense. Enter the total average monthly amount by which your food and
clothing expenses exceed the combined allowances for food and clothing (apparel and services) in the IRS
National Standards, not to exceed 5% of those combined allowances. (This information is available at
www.usdoy.gov/ust/ or from the clerk of the bankruptcy court.) You must demonstrate that the additional
amount claimed is reasonable and necessary.

Continued charitable contributions. Enter the amount that you will continue to contribute in the form of
cash or financial instruments to a charitable organization as defined in 26 U.S.C. § 170(c)(1)-(2).

41

Total Additional Expense Deductions under § 707(b). Enter the total of Lines 34 through 40

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Subpart C: Deductions for Debt Payment

42

Future payments on secured claims. For each of your debts that is secured by an interest in property that
you own, list the name of the creditor, identify the property securing the debt, state the Average Monthly
Payment, and check whether the payment includes taxes or insurance. The Average Monthly Payment is the
total of all amounts scheduled as contractually due to each Secured Creditor in the 60 months following the
filing of the bankruptcy case, divided by 60. If necessary, list additional entries on a separate page. Enter
the total of the Average Monthly Payments on Line 42.

Name of Property Securing the Debt Average Does payment
Creditor Monthly include taxes

Payment or insurance?
a. |Bankof America [214 Dickens Dr $ 430 | [yes [Wno
b. | Valley First CU =‘ | 2000 Satern $ 213 | [Clyes (Wno
c. § [CT yes (CTno
Total: Add

Lines a, b and c.

43

Other payments on secured claims. If any of debts listed in Line 42 are secured by your primary
residence, a motor vehicle, or other property necessary for your support or the support of your dependents,
you may include in your deduction 1/60th of any amount (the “cure amount”) that you must pay the creditor
in addition to the payments listed in Line 42, in order to maintain possession of the property. The cure
amount would include any sums in default that must be paid in order to avoid repossession or foreclosure.
List and total any such amounts in the following chart. If necessary, list additional entries on a separate

page.

Name of Property Securing the Debt 1/60th of the Cure Amount
Creditor
a. [| BankofAmerica | 214 Dickens Dr $ 4.83

$

Total: Add Lines a, b and c
Dn A EES 8 Cd

Payments on prepetition priority claims. Enter the total amount, divided by 60, of all priority claims, such
as priority tax, child support and alimony claims, for which you were liable at the time of your bankruptcy
filing. Do not include current obligations, such as those set out in Line 28.

45

Chapter 13 administrative expenses. If you are eligible to file a case under chapter 13, complete the
following chart, multiply the amount in line a by the amount in line b, and enter the resulting administrative
expense,

a. Projected average monthly chapter 13 plan payment. $
Current multiplier for your district as determined under schedules issued
by the Executive Office for United States Trustees. (This mformation is
available at www usdo| gov/ust/ or from the clerk of the bankruptcy
court.) x

c. Average monthly administrative expense of chapter 13 case Total: Multiply Lines

a and b

Total Deductions for Debt Payment. Enter the total of Lines 42 through 45.

Subpart D: Total Deductions from Income

47

Total of all deductions allowed under § 707(b)(2). Enter the total of Lines 33, 41, and 46.

bd

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Part VI. DETERMINATION OF § 707(b)(2) PRESUMPTION

Enter the amount from Line 18 (Current monthly income for § 707(b)(2))

49 | Enter the amount from Line 47 (Total of all deductions allowed under § 707(b\(2))
50 | Monthly disposable income under § 707(b)(2). Subtract Line 49 from Line 48 and enter the result $
$1 | 60-month disposable income under § 707(b)(2). Multiply the amount in Line $0 by the number 60 and

enter the result. $

52

Initial presumption determination. Check the applicable box and proceed as directed.
[LJ The amount on Line 51 is less than $6,575 Check the box for “The presumption does not arise” at the top of page |
of this statement, and complete the verification in Part VIII. Do not complete the remainder of Part VI.

(J The amount set forth on Line 51 is more than $10,950. Check the box for “The presumption arises” at the top of
page 1 of this statement, and complete the verification in Part VII. You may also complete Part VI. Do not complete
the remainder of Part VI.

CT The amount on Line 51 is at least $6,575, but not more than $10,950. Complete the remainder of Part VI (Lines 53
through 55).

33

Enter the amount of your total non-priority unsecured debt $

54

Threshold debt payment amount. Multiply the amount in Line 53 by the number 0.25 and enter the result. | $

55

Secondary presumption determination. Check the applicable box and proceed as directed.

(FJ The amount on Line 51 is tess than the amount on Line 54. Check the box for “The presumption does not arise” at
the top of page 1 of this statement, and complete the verification in Part VII.

Fl the amount on Line 51 is equal to or greater than the amount on Line 54. Check the box for “The presumption
arises” at the top of page 1 of this statement, and complete the verification in Part VI. You may also complete Part
VOL.

Part VII: ADDITIONAL EXPENSE CLAIMS

56

Other Expenses. List and describe any monthly expenses, not otherwise stated in this form, that are required for the health
and welfare of you and your family and that you contend should be an additional deduction from your current monthly
income under § 707(bX2AMiiXD. If necessary, list additional sources on a separate page. All figures should reflect your
average monthly expense for each item. Total the expenses.

Expense Description Monthly Amount

ols

oO
HF | G4 HO

Total: Add Lines a, b and c

Part VIII: VERIFICATION

57

I declare under penalty of perjury that the information provided in this statement is true and correct. (If this is a joint case,

both debtors nrust sign.) /
Date: 26-07 Signature: (A [a
v ‘e -)
me

Date: Signature: i
(oint Dpdtor, if any)

